     Case 5:21-cr-00009-LGW-BWC     Document 887     Filed 02/05/24   Page 1 of 13




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )     CASE NO 5:21-CR-009
                                              )
MARIA LETICIA PATRICIO,                       )
ANTONIO CHAVEZ RAMOS,                         )
ENRIQUE DUQUE TOVAR,                          )
DELIA IBARRA ROJAS,                           )
JUAN FRANCISCO ALVAREZ CAMPOS,                )
BRETT DONAVAN BUSSEY                          )

               THE UNITED STATES’ COMBINED RESPONSE
              IN OPPOSITION TO DEFENDANTS’ MOTIONS TO
            DISMISS FOR MISJOINDER AND MOTIONS TO SEVER


        The United States files its combined response in opposition to the following

pretrial motions to dismiss for misjoinder and motions to sever:

         Docket No.    Filing Defendant           Motion
         (Doc.)
         388           Enrique Duque Tovar        Motion for Severance
         639           Brett Bussey               Motion for Severance
         801           Delia Rojas                Motion to Sever
         806           Juan Campos                Motion to Dismiss for
                                                  Misjoinder
         807           Juan Campos                Motion for Severance
         808           Maria Patricio             Motion to Sever
         812           Antonio Chavez Ramos       Motion to Dismiss for
                                                  Misjoinder
         813           Antonio Chavez Ramos       Motion to Sever


        In a series of motions, Defendants Maria Patricio, Antonio Chavez Ramos,

Enrique Duque Tovar, Delia Ibarra Rojas, Juan Alvarez Campos, and Brett Bussey

seek to sever this case into multiple separate trials. Defendants Antonio Chavez

Ramos and Juan Alvarez Campos also allege misjoinder and argue the Indictment
     Case 5:21-cr-00009-LGW-BWC       Document 887      Filed 02/05/24    Page 2 of 13




should be dismissed.     Courts generally agree that an indictment should not be

dismissed for misjoinder. See e.g., United States v. Damiani, 2011 WL 7574628, at

*21 (N.D. Ga. Sept. 23, 2011), report and recommendation adopted, 2012 WL 983726

(N.D. Ga. Mar. 20, 2012); See United States v. Ervin, 2011 WL 2551192, *4 (M.D.Ala.

June 6, 2011) (report and recommendation adopted, 2011 WL 2551186 (June 27, 2011)

(“[A]ny improper joinder of Defendants does not warrant the extreme remedy of

dismissal of the Superseding Indictment.”); cf. United States v. Goodman, 285 F.2d

378, 379 (5th Cir.1960) (finding that the proper relief for a misjoinder of offenses

under Rule 8(a)1 was not dismissal of the entire indictment but severance of the

offenses for separate trials). Thus, Defendants motions to dismiss the indictment for

misjoinder are properly denied.      The correct potential remedy for misjoinder is

severance. The United States respectfully submits that severance is not warranted

in this case and the motions for severance are also properly denied.

I.      Joint Trials Serve Important Interests.

        Rule 14(a) of the Federal Rules of Criminal Procedure provides that if the

joinder of defendants at trial “appears to prejudice a defendant . . . the court may

order separate trials of counts, sever the defendants’ trials, or provide any other relief

that justice requires.” While the decision to sever “lies within the district court’s

sound and substantial discretion,” see United States v. Lopez, 649 F.3d 1222, 1236



1 The Eleventh Circuit has noted that in certain cases, “the governing principles” for

Rule 8(a) and Rule 8(b) “are the same.” United States v. Dominguez, 226 F.3d 1235,
1239 (11th Cir. 2000).


                                            2
  Case 5:21-cr-00009-LGW-BWC         Document 887      Filed 02/05/24   Page 3 of 13




(11th Cir. 2011), the court must “balance the rights of the defendants and the

government to a trial that is free from the prejudice that may result from joint trials

against the public’s interest in efficient and economic administration of

justice.” United States v. Pepe, 747 F.2d 632, 649 (11th Cir. 1984). Indeed, “[j]oint

trials play a vital role in the criminal justice system and serve important interests:

they reduce the risk of inconsistent verdicts and the unfairness inherent in serial

trials, lighten the burden on victims and witnesses, increase efficiency, and conserve

scarce judicial resources.” Lopez, 649 F.3d at 1233 (citing Zafiro v. United States, 506

U.S. 534, 537 (1993)).

II.   Defendants Indicted Together Are Tried Together, Unless The
      Defendant Meets A Heavy Burden Of Demonstrating Severance Is The
      Only Remedy For Actual Prejudice.

      The general rule in the Eleventh Circuit is that “defendants who are indicted

together are usually tried together.” United States v. Browne, 505 F.3d 1229, 1268

(11th Cir. 2007). That rule “is even more pronounced in conspiracy cases.” Lopez,

649 F.3d at 1234 (citing United States v. Beale, 921 F.2d 1412, 1428 (11th Cir. 1991)).

“The exceptional circumstances justifying a deviation from the rule, however, are few

and far between.” Lopez, 649 F.3d at 1234. “The burden is on the defendant to

demonstrate that a joint trial will result in specific and compelling prejudice to the

conduct of his defense.” United States v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997)

(internal marks and citation omitted). This is a “heavy burden” borne by Defendants.

Browne, 505 F.3d at 1268. “To show compelling prejudice, a defendant must establish

that a joint trial would actually prejudice the defendant and that a severance is the



                                           3
  Case 5:21-cr-00009-LGW-BWC          Document 887      Filed 02/05/24    Page 4 of 13




only proper remedy for that prejudice—jury instructions or some other remedy short

of severance will not work.” Lopez, 649 F.3d at 1234 (citing Zafiro, 506 U.S. at 539–

41).

III.   Defendants Have Not Met Their Heavy Burden Of Showing This
       Conspiracy Case Presents An Exceptional Circumstance That
       Warrants Service.

       To be properly joined, “the offenses in question must constitute a series of acts

or transactions. “‘In the ordinary case, a rational basis for joinder of multiple counts

should be discernible from the face of the indictment.’” United States v. Azor, 881

F.3d 1, 10 (1st Cir. 2017) (quoting United States v. Natanel, 938 F.2d 302, 306 (1st

Cir. 1991)). Put differently, “the propriety of joinder under Rule 8(b) is to be judged

according to the language of the indictment, not according to the government’s proof

at trial.” United States v. Sutherland, 656 F.2d 1181, 1190 (5th Cir. 1981) (citing

Schaffer v. United States, 362 U.S. 511 (1960)). “[I]t is settled that a conspiracy count

can forge the needed linkage” for proper joinder, absent a showing that the charge

was included in bad faith. Natanel, 938 F.2d at 307 (citations omitted); United States

v. Luna, 585 F.2d 1, 4 (1st Cir. 1978). Further, “[j]oinder is proper . . . even when the

objecting defendant is only connected to one part of [the] scheme.” Azor, 881 F.3d at

11 (citation omitted). Defendants bear the burden of showing misjoinder, and the

remedy for misjoinder is severance. Natanel, 938 F.2d at 306.

        “The government can indict jointly based on ‘what it reasonably anticipates

 being able to prove against the defendants’ at the time of indictment.” Azor, 881

 F.3d at 10 (quoting Natanel, 938 F.2d at 306). Here, as set forth above, the



                                            4
  Case 5:21-cr-00009-LGW-BWC          Document 887      Filed 02/05/24   Page 5 of 13




 Indictment alleges, and the government anticipates proving at trial, that the

 defendants conspired together to commit mail fraud, commit forced labor, and

 money laundering. As outlined in the Indictment, the counts are part of the same

 series of acts or transactions that give rise to the conspiracies.

IV.   The Offenses Charged In The Indictment Are Part Of The Same Series
      Of Acts Or Transactions.

      A federal grand jury returned an indictment charging twenty-four defendants,

including Defendants Maria Patricio, Antonio Chavez Ramos, Enrique Duque Tovar,

Delia Ibarra Rojas, Juan Alvarez Campos, and Brett Bussey, in an international mail

fraud, forced labor, and money laundering conspiracy. Docs. 3. Defendants were

charged for their individual roles, including (1) conspiracy to commit mail fraud in

violation of 18 U.S.C. § 1349; (2) conspiracy to engage in forced labor in violation of

18 U.S.C. § 1594; and (3) money laundering conspiracy in violation of 18 U.S.C.

§ 1956(h). The Indictment provides an introduction explaining the relevant laws

Defendants sought to avoid with their schemes, discusses the Defendants’ roles in the

conspiracies, outlines the objects of the conspiracies, the manner and means of the

conspiracies, and certain overt acts committed in furtherance of the conspiracies.

      As outlined in the Indictment, members of this organization were located

throughout the United States and in Mexico, Guatemala, and Honduras. Their roles

included people who filed fraudulent Petitions to bring in H-2A workers, people who

contracted with farmers to find and recruit H-2A workers to enter the United States

under the H-2A visa program, people who transported H-2A workers, people who

supervised H-2A workers in the agriculture fields, people who confiscated the H-2A

                                            5
  Case 5:21-cr-00009-LGW-BWC         Document 887      Filed 02/05/24    Page 6 of 13




workers’ identification documents, people who sold or traded the H-2A workers to

other members, people who threatened the H-2A workers to ensure their compliance,

people who smuggled cash into the United States that was received from the H-2A

workers, people who hid the profits of the scheme, and people who tampered with

witnesses with knowledge of the schemes.         Members of this conspiracy all had

different roles, but each role was vital to the other roles, and necessary for the entire

organization to operate. For example, a member could not transport H-2A workers

into the United States, unless and until, another member first submitted the false

Petition seeking authorization to enter the United States. As another example, a

member could not exploit a worker, unless and until, another member first submitted

the false Petition that authorized the worker to enter the United States on an H-2A

visa.

        Essentially, one or more members of the conspiracy would (1) unlawfully

charge workers for H-2A visas; (2) lie to workers about what their pay would be in

the United States; (3) smuggle unlawful fees paid by the workers into the United

States for distribution among conspirators; (4) pay other members to file and mail

false Petitions for H-2A visas; (5) confiscate identification documents to prevent the

workers from leaving or contacting law enforcement once the foreign workers entered

the United States on the H-2A visa; (6) force workers to work in agriculture fields in

the United States for little to no pay in violation of the H-2A visa process; (7) pay the

workers in cash and not under the terms of the Petition; (8) force the workers to live

in crowded, unsanitary, and degrading living conditions; (9) threaten the workers



                                           6
     Case 5:21-cr-00009-LGW-BWC      Document 887     Filed 02/05/24   Page 7 of 13




with deportation or violence if the workers complained; (10) use the workers as a work

force to sell or trade workers in exchange for money to other members of the

organization; (11) require the workers to work at unapproved locations such as

restaurants and golf clubs; (12) force workers to pay additional unlawful fees to get

their passports and H-2A visas back from conspirators; (13) allow some workers to

abscond and not work in agriculture fields under the terms of the H-2A visa program,

but only if they paid additional unlawful fees; (14) take the unlawful fees paid by the

workers and divide the illegal proceeds among other conspirators involved in the

scheme; and (15) hide the illegal proceeds all to avoid detection.

        The principal purposes of the mail fraud and forced labor conspiracies are the

same, and the acts underlying the conspiracies are also the same.         The money

laundering conspiracy is likewise part of the same series of acts or transactions

because it was designed to conceal the conspiracy to commit mail fraud and conspiracy

to engage in forced labor. The charged conspiracies thus “forge the needed linkage” for

joinder and are not separate as alleged by Defendants.

V.      The Potential Conflicts Mustered By Defendants Do Not Measure Up
        And Cannot Compel A Severance.

           a. Defendants’ constitutional rights will not be jeopardized by a
              joint trial.

        A joint trial has been found to violate a defendant’s constitutional rights in

cases where a co-defendant’s counsel comments upon the defendant’s exercise of his

right to remain silent, DeLuna v. United States, 308 F.2d 140 (5th Cir.1962); and

where the court admits into evidence a mutually incriminating confession of a co-



                                           7
  Case 5:21-cr-00009-LGW-BWC         Document 887     Filed 02/05/24   Page 8 of 13




defendant who does not take the stand, Schaffer v. United States, 221 F.2d 17, 20 (5th

Cir. 1955). Defendants complain that if they are tried together, there may be evidence

of incriminating statements used against them. This concern is misplaced. If the

United States introduces statements made to law enforcement that implicate another

defendant who does not take the stand, in a joint trial, government counsel would

redact such information and instruct its witnesses not to run afoul of the Bruton rule.

          b. The jury can make a reliable judgment about the guilt or
             innocence of Defendants in a joint trial.

        Defendants cannot establish “compelling prejudice” based upon potential

spillover evidence, complexity of the case, incongruity of their criminal acts compared

to those of their co-defendants, antagonistic or mutually exclusive defenses, or the

need for a co-defendant’s exculpatory testimony. A court’s cautionary instructions

ordinarily mitigate the potential for a “spillover effect,” which occurs “where

overwhelming evidence of guilt is introduced against a co-defendant that would not

have been admissible against the defendant in a separate trial.” Lopez, 649 F.3d at

1235.    The question of spillover prejudice asks whether evidence against a co-

defendant is so inflammatory that it prevents the jury from individually assessing

the guilt of each defendant. The Eleventh Circuit has held “a defendant does not

suffer compelling prejudice, sufficient to mandate a severance, simply because much

of the trial is only applicable to co-defendants.” Id. at 829 (internal quotations

omitted). Similarly, “it is not enough for the defendant to show that he would more

likely have been acquitted had he been tried separately, or that the evidence against

his co-defendant was stronger than that against himself.” United States v. Cross, 928

                                          8
  Case 5:21-cr-00009-LGW-BWC         Document 887      Filed 02/05/24   Page 9 of 13




F.2d 1030, 1039, n.21 (11th Cir. 1991). Rather, “[t]he applicable test is whether it was

within the capacity of the jurors to follow the court’s limiting instructions and

appraise the independent evidence against each defendant solely upon that

defendant’s own acts, statements, and conduct.” Id. at 1039 (internal quotations

omitted). Defendants have brought forth no information tending to show a properly

instructed jury could not follow the court’s instructions to consider each defendant

and the evidence against him separately. Instead, they simply claim the evidence of

other Defendants wrongdoing will improperly and overwhelmingly influence the jury

to find them guilty.

      And while the evidence is greater in quantity against some Defendants than

others, mere disparity in the quantity of evidence against co-defendants is

insufficient to warrant severance. See U.S. v. Tobin, 676 F.3d 1264, 1292 (11th Cir.

2012), cert. denied, 133 S.Ct. 658 (2012). “If it were enough, in every joint trial the

defendant facing the fewest charges with the least amount of evidence would be

automatically entitled to a severance. Then, the next defendant left who faced the

fewest charges and least amount of evidence would be automatically entitled to a

severance, and so on, until only one or a few defendants remained in the trial. That

cannot be, and it is not, the law.” Hill, 643 F.3d at 831-32.

      Severance has been granted in an extremely narrow range of cases when “the

sheer number of defendants and charges with different standards of proof and

culpability, along with the massive volume of evidence, makes it nearly impossible

for a jury to juggle everything properly and assess the guilt or innocence of each



                                           9
 Case 5:21-cr-00009-LGW-BWC          Document 887      Filed 02/05/24   Page 10 of 13




defendant independently.” Blankenship, 382 F.3d at 1124. The bar for this kind of

prejudice is so high that “only in the rarest case” is severance required due to

complexity. See Lopez, 649 F.3d at 1235. In Hill, the court affirmed the denial of

severance in a mortgage fraud case where there were twelve defendants, a 187-count

indictment involving more than 300 transactions, over 1,100 exhibits, and more than

100 witnesses. See 643 F.3d 807, 819-20, 827-34 (11th Cir. 2011). In United States

v. Kopituk, 690 F.2d 1289 (11th Cir. 1982), the court affirmed the denial of a

severance in a labor corruption case involving twelve defendants, a seventy-count

indictment, 130 witnesses, and a seven-month trial resulting in 22,000 pages of

transcript. See id. at 1320. If the massive Hill and Kopituk cases were not too

complicated for juries to make a reliable judgment, then this case will not prevent the

jury from compartmentalizing the evidence and following the court’s instructions.

            c. Potential antagonistic or mutually exclusive defenses do not
               warrant severance, not have Defendants shown they will be
               deprived of a co-defendant’s exculpatory testimony.

         Potential prejudicial effects of anticipated defenses and testimony of co-

defendants are typically insufficient to warrant severance. See Hill, 643 F.3d at 834;

Blankenship, 382 F.3d at 1125; United States v. Cobb, 185 F.3d 1193, 1197 (11th Cir.

1999).    Likewise, “co-defendants do not suffer prejudice simply because one co-

defendant’s defense directly inculpates another, or it is logically impossible for a jury

to believe both co-defendants’ defenses.” Blankenship, 382 F.3d at 1125. On the other

end of the spectrum,

         Where a defendant argues for severance on the ground that it will
         permit the exculpatory testimony of a co-defendant, he must show: (1)

                                           10
  Case 5:21-cr-00009-LGW-BWC             Document 887     Filed 02/05/24      Page 11 of 13




         a bona fide need for the testimony; (2) the substance of the desired
         testimony; (3) the exculpatory nature and effect of the desired
         testimony; and (4) that the co-defendant would indeed have testified at
         a separate trial.

Cobb, 185 F.3d at 1197 (internal quotes and citation omitted). Defendants have not

asserted any bona fide need for a co-defendant’s testimony, or any reason to believe

such testimony would be exculpatory.

            d. The violent and inhumane acts do not severely prejudice
               Defendants by a joint trial.

         Severance is not mandated even where a defendant did not know his fellow

actors and was unaware of the details of their actions directed at putting forward the

aims of the criminal enterprise, United States v. Machado, 804 F.2d 1537 (11th Cir.

1986), nor where a defendant participated in only a single aspect of a complex

criminal undertaking, United States v. Astling, 733 F.2d 1446 (11th Cir. 1984).

         Simply demonstrating that a defendant did not participate in every phase of a

scheme      or   conspiracy   is   not   a   showing    sufficient   to   justify   severance.

“...[D]emonstrating that the evidence is stronger against a co-defendant than oneself

does not satisfy the burden of showing compelling prejudice.”               United States v.

Johnson, 713 F.2d 633, 640 (11th Cir. 1983).

         Defendants argue that separate trials are warranted because some Defendants

committed violent and inhumane acts in furtherance of the conspiracies, while other

Defendants only committed acts of fraud in furtherance of the conspiracies. They

argue that the violent and inhumane acts are so prejudicial they will be denied a fair

trial.    This is a misreading of the Indictment and a misunderstanding of the



                                              11
 Case 5:21-cr-00009-LGW-BWC         Document 887     Filed 02/05/24   Page 12 of 13




Defendants’ individual roles in the conspiracies. The violent and inhumane acts are

part of the same conspiracies. They are also acts committed in furtherance of the

same conspiracies. Defendants who engaged in violent and inhumane acts against

the workers could not have done so without the other Defendants committing fraud

to bring the workers into the Untied States. The Indictment alleges that Defendants

Maria Patricio, Antonio Chavez Ramos, Enrique Duque Tovar, Delia Ibarra Rojas,

Juan Alvarez Campos, and Brett Bussey, all either prepared false Petitions that

allowed workers to be exploited, managed or supervised workers who were exploited

by other named Defendants, or committed the violent or inhumane acts themselves.

      Defendants have not carried their difficult burden of justifying severance; have

not shown the compelling prejudice from joinder necessary to overcome the

presumption that the trial court’s instructions to the jury will ameliorate any

prejudice arising from a joint trial; and have not demonstrated a need for severance

which counterbalances the strong precedent for joint trials in this Circuit. For these

reasons, the United States respectfully submits that Defendants motions to sever are

properly denied.




                         Signatures on the Following Page




                                         12
Case 5:21-cr-00009-LGW-BWC   Document 887   Filed 02/05/24   Page 13 of 13




                                      Respectfully submitted,

                                      JILL E. STEINBERG
                                      UNITED STATES ATTORNEY

                                BY:   /s/ Tania D. Groover

                                      Tania D. Groover
                                      Criminal Chief
                                      Georgia Bar No. 127947
                                      Post Office Box 8970
                                      Savannah, Georgia 31412
                                      Telephone: 912-652-4422
                                      Facsimile: 912-652-4388
                                      E-mail: tania.groover@usdoj.gov


                                BY:   /s/ E. Gregory Gilluly, Jr.

                                      E. Gregory Gilluly, Jr.
                                      Deputy Criminal Chief
                                      Tennessee Bar No. 019397
                                      Post Office Box 8970
                                      Savannah, Georgia 31412
                                      Telephone: 912-652-4422
                                      Facsimile: 912-652-4388
                                      E-mail: greg.gilluly@usdoj.gov




                                 13
